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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




                                    The Florida Bar
                                          651 East Jefferson Street
                                         Tallahassee, FL 32399-2300
    Joshua E. Doyle                                                                 850/561-5600
   Executive Director                                                           www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                      In Re: 0246220
                                                      Larry Elliot Klayman
                                                      Klayman Law Group, PA
                                                      2020 Pennsylvania Ave NW # 345
                                                      Washington, DC 20006-1811
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on December 7, 1977.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 28th day of January, 2020.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-70797
       Case 4:20-cv-00124-HNJ Document 3-1 Filed 01/29/20 Page 2 of 2




  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                        Larry E Klayman
      was duly qualified and admitted on December 22, 1980 as an attorney and counselor entitled to
        practice before this Court; and is, on the date indicated below, an Active member in good
                                             standing of this Bar.




                                                                          In Testimony Whereof,
                                                                      I have hereunto subscribed my
                                                                      name and affixed the seal of this
                                                                           Court at the City of
                                                                       Washington, D.C., on January
                                                                                 28, 2020.




                                                                            JULIO A. CASTILLO
                                                                              Clerk of the Court




                                                                  Issued By:
                                                                           District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
